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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

STUDENTS FOR FAIR ADMISSIONS,                     §
INC.                                              §
             Plaintiff,                           §
                                                  §       Civil Action No. 1:20-cv-00763-RP
       v.                                         §
                                                  §
UNIVERSITY OF TEXAS AT AUSTIN,                    §
ET AL.,                                           §
             Defendants.                          §

                        NOTICE CONCERNING REFERENCE TO
                         UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 626(c), Federal Rule of Civil Procedure 73,

and the Local Rules of the United States District Court for the Western District of Texas, the

following parties, Defendants

through counsel, John J. McKetta, III, Matthew C. Powers, William Christian, and Marianne W. Nitsch

       ____    Consent to having a United States Magistrate Judge preside over the trial in this case.

       _X__ Decline to consent to trial before a United States Magistrate Judge.

                                                  Respectfully Submitted,

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                                       [SIGNATURE BLOCK TO FOLLOW ON NEXT PAGE]
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and complete copy of the foregoing has been served on the counsel

of record shown below on this the 4th day of February 2021:

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